                                            Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 1 of 32




                                   1

                                   2

                                   3

                                   4                                          UNITED STATES DISTRICT COURT

                                   5                                         NORTHERN DISTRICT OF CALIFORNIA

                                   6                                                SAN JOSE DIVISION

                                   7

                                   8        HEATHER BIDDLE, et al.,                            Case No. 22-cv-07317-EJD
                                                               Plaintiffs,                     ORDER GRANTING IN PART AND
                                   9
                                                                                               DENYING IN PART DEFENDANT’S
                                                     v.                                        MOTION TO DISMISS
                                  10
                                                                                               CONSOLIDATED AMENDED CLASS
                                  11        THE WALT DISNEY COMPANY,                           ACTION COMPLAINT
                                                               Defendant.                      Re: ECF No. 67
                                  12
Northern District of California
 United States District Court




                                  13

                                  14            This antitrust lawsuit concerns The Walt Disney Company’s (“Disney” or “Defendant”)

                                  15   allegedly anticompetitive conduct in a market for streaming live pay television, i.e., live television

                                  16   streamed over the internet to paying subscribers. See Consol. Am. Class Action Compl.

                                  17   (“CACC”) ¶ 1, ECF No. 59. Now pending before the Court is Disney’s Motion to Dismiss

                                  18   Plaintiffs’ Consolidated Amended Class Action Complaint (the “Motion”). See Mot., ECF No.

                                  19   67. For the reasons below, the Court GRANTS IN PART and DENIES IN PART the Motion.

                                  20   I.       BACKGROUND
                                  21            A.        Factual Allegations
                                  22                      1.         The Evolution of Paid Television Plan Offerings
                                  23            As recently as 2013, more than 90% of households in the United States were cable or

                                  24   satellite television subscribers. See CACC ¶ 104. Although consumers could use a digital

                                  25   television antenna to obtain a handful of digital broadcast channels—such as the major broadcast

                                  26   networks—for free over the air, they needed cable and satellite “pay TV” to obtain important

                                  27   television offerings, including essentially all non-network television channels. Id. These pay TV

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                          1
                                          Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 2 of 32




                                   1   providers used hard cable or satellite infrastructure to distribute multiple television channels, and

                                   2   were known in the industry as Multichannel Video Programming Distributors (“MVPDs”).

                                   3          The rise of streaming platforms like HBO, Amazon Prime, and Netflix in the early 2010s

                                   4   began to provide consumers with a viable option to view commercial-free, high-quality

                                   5   entertainment over the internet, i.e., without a cable or satellite television subscription. See id. ¶

                                   6   101. For example, in October 2014, HBO—whose content was historically available only as part

                                   7   of a cable or satellite television package—announced that it would offer a subscription to its

                                   8   content entirely over the internet. Id. ¶ 110. HBO’s announcement produced a network effect,

                                   9   and formerly cable-only subscription services began to de-bundle their content from cable and

                                  10   satellite television plans. CACC ¶ 111. Cable and satellite pay TV thus began to lose its status as

                                  11   a must-pay gatekeeper for important television content. Id.

                                  12          Following the initial decoupling of content from cable and satellite TV plans, January 2015
Northern District of California
 United States District Court




                                  13   saw the birth of what would later be referred to as Virtual Multichannel Video Programming

                                  14   Distributors (“vMVPDs”) when Dish Network (“Dish”)—a satellite pay TV provider—announced

                                  15   a new product through its subsidiary, Sling TV. CACC ¶¶ 159, 161. Sling TV was already a

                                  16   provider of live television over the internet, and its new product offered subscribers the ability to

                                  17   watch a subset of traditional cable channels without a cable or satellite TV subscription. See id. ¶

                                  18   159. This product was the first in the United States to offer a meaningful live TV alternative to

                                  19   cable and satellite TV. See id. ¶ 160.

                                  20          After Sling TV’s product announcement, several other vMVPDs emerged and began

                                  21   offering streaming live pay TV (“SLPTV”) plans. Id. ¶ 163. For example, in March 2016, Sony’s

                                  22   PlayStation announced an SLPTV plan, PlayStation Vue. See id. ¶ 167. In November 2016,

                                  23   television giant DirecTV—then owned by telecommunications giant AT&T—announced another

                                  24   SLPTV service, DirecTV Now. See CACC ¶ 164. In February 2017, Google’s YouTube

                                  25   announced the SLPTV offering YouTube TV. See id. ¶ 168. Hulu then entered the field in May

                                  26   2017 with its SLPTV offering, Hulu + Live TV. See id. ¶ 169.

                                  27          Where MVPDs use proprietary cable or dish transmission media to bring pay TV into

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                          2
                                          Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 3 of 32




                                   1   homes, vMVPDs rely on existing internet infrastructure to transmit live pay TV channels. See id.

                                   2   ¶ 161. These vMVPDs offered to consumers potential alternatives to traditional cable and satellite

                                   3   pay TV subscriptions at significantly lower prices. See id. ¶¶ 163–65. Where traditional cable and

                                   4   satellite TV providers offered plans at an average of $70 to $120 per month, vMVPDs offered

                                   5   SLPTV plans at monthly prices such as $29.99, $35.00, $39.99, and $44.99. See id. ¶¶ 167–69.

                                   6                  2.     ESPN and Disney
                                   7          The Entertainment and Sports Programming Network (“ESPN”) provides television sports

                                   8   coverage throughout the United States; its core business is sports broadcasting and commentary.

                                   9   See CACC ¶¶ 56, 63–70. Although ESPN was founded as a channel dedicated to covering local

                                  10   Connecticut sports, it soon expanded into mainstream professional sports; continued growing

                                  11   throughout the 1980s and 1990s; and by 2004 had executed agreements with the NCAA, NBA,

                                  12   NFL, MLB, NHL, and MLS. See id. ¶¶ 56–59. By 2012, ESPN had proliferated into several
Northern District of California
 United States District Court




                                  13   sister channels, including ESPN2, ESPNews, ESPN Classic, and ESPNU. Id. ¶ 62. Together,

                                  14   ESPN and its sister channels had the broadest and largest number of television rights agreements

                                  15   with major sports leagues. See id. ESPN’s control over such a broad cross section of live sports

                                  16   meant that it was a large draw for TV viewers interested in sports. See id. ¶ 64.

                                  17          Disney is a public Delaware corporation headquartered in Burbank, California. CACC ¶

                                  18   42. Disney acquired ESPN in August 1995 as part of a larger merger, and now controls ESPN

                                  19   with an 80% share. See id. ¶¶ 44, 56, 67–70. The Hearst Corporation owns the remaining 20%.

                                  20   Id. ¶ 44. Plaintiffs allege that Disney and ESPN operate as a single economic unit, with ESPN’s

                                  21   profits and losses shared and reported as part of Disney’s balance sheet. See id. ¶ 47. Disney

                                  22   exercises operational control over the entire economic entity, and negotiates contracts on behalf of

                                  23   the combined operations. Id.

                                  24                  3.     Carriage Agreements
                                  25          Carriage agreements are contracts that govern the terms of channel distribution and

                                  26   broadcasting. See, e.g., CACC ¶ 94. For example, cable companies pay channel owners “affiliate

                                  27   fees” to broadcast the channel as part of a package offered to subscribers. See id. ¶ 74. Disney

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                          3
                                          Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 4 of 32




                                   1   negotiates carriage agreements on behalf of ESPN. See id. ¶ 46. The crux of this suit is the charge

                                   2   that Disney (1) controls both a highly desired channel (ESPN) and an SLPTV provider (Hulu); (2)

                                   3   negotiated anticompetitive carriage agreements with SLPTV providers for ESPN and its related

                                   4   channels; and (3) thereby raised SLPTV subscription prices, including for Hulu’s SLPTV product,

                                   5   Hulu + Live TV. See id. ¶¶ 3–4, 419.

                                   6                      4.   Disney’s Cable and Satellite Carriage Agreements for ESPN
                                   7           For decades, Disney negotiated carriage agreements with traditional cable and satellite TV

                                   8   providers that required the providers to include ESPN as part of their basic (and cheapest) cable or

                                   9   satellite TV packages. See id. ¶¶ 82–86. ESPN was the most expensive channel on basic cable,

                                  10   and almost half of American subscribers would have had a strong preference to purchase a basic

                                  11   cable bundle without it. See CACC ¶¶ 82, 132. However, there was enough overall demand for

                                  12   ESPN by cable subscribers to ensure that cable providers would pay Disney’s high monthly prices
Northern District of California
 United States District Court




                                  13   to carry ESPN as part of their basic cable package offerings. See id. ¶ 83. In addition to requiring

                                  14   cable and satellite TV providers to carry ESPN and its sister channels as part of any basic offering,

                                  15   Disney included a most favored nation (“MFN”) clause in its carriage agreements that requires

                                  16   Disney to provide its SLPTV counterparty with the lowest price for ESPN and other channels

                                  17   offered to any other market participant. Id. ¶ 342. Plaintiffs allege that the MFN term ensures that

                                  18   the ESPN affiliate fees negotiated with any given cable operator represents an industrywide price

                                  19   floor. Id. ¶ 84.

                                  20           By the early 2010s, ESPN had become a significant cost input into cable TV bundles

                                  21   around the country. See CACC ¶ 75. ESPN dwarfed other channels in the affiliate fees it

                                  22   commanded—it charged $5.13 per subscriber per month in 2012, with the next highest fee at

                                  23   $1.18. See id. The average fee at the time for a basic channel was $0.26. See id. By 2015,

                                  24   ESPN’s affiliate fees had reached $6.55 per subscriber per month. Id. ¶ 76. By 2017, cable

                                  25   providers paid affiliate fees totaling as much as 15% or 20% of a basic cable package simply to

                                  26   carry ESPN as part of the bundle. See id. ¶ 81. Plaintiffs allege that ESPN’s constellation of

                                  27   networks were the primary driver of basic cable price hikes for decades. See id. ¶ 75.

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                          4
                                          Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 5 of 32




                                   1                  5.     Threats to ESPN Prices in the 2010s

                                   2          ESPN hemorrhaged tens of millions of customers from about 2012 through 2017, as online

                                   3   platforms like Netflix, Hulu, and Amazon Prime made non-sports pay TV programming

                                   4   increasingly available outside traditional cable/satellite pay TV distribution. See CACC ¶¶ 113,

                                   5   116, 123, 126, 147, 159. The cord cutting plateaued by 2017, and the remaining subscribers—

                                   6   who wanted live TV—comprised too small a pool to sustain the massive television revenues

                                   7   Disney had historically realized from the high prices it charged for ESPN. See id. ¶¶ 129, 147.

                                   8          Against this backdrop, Plaintiffs allege that the advent of SLPTV offerings by vMVPDs

                                   9   between 2015 and 2017 posed “an existential threat to Disney’s ESPN cash cow.” CACC ¶ 172;

                                  10   see id. ¶¶ 159–69. The multitude of vMVPDs offered SLPTV packages that included much of the

                                  11   same content provided by legacy MVPDs, but without the “bloated” baseline prices caused by

                                  12   Disney’s carriage agreements with cable and satellite TV providers. See id. ¶ 166. And notably,
Northern District of California
 United States District Court




                                  13   the new vMVPDs almost all included ESPN as part of their lower-cost offerings, pursuant to

                                  14   contracts negotiated between each vMVPD and Disney. Id. ¶ 170. SLPTV offerings appeared to

                                  15   fall outside the bounds of the MFN clauses Disney had negotiated and enforced for years with

                                  16   cable and satellite TV providers, and Disney thus did not have the leverage to negotiate its usual

                                  17   prices. See id. ¶¶ 170, 172. And although the contracts with the vMVPDs afforded Disney the

                                  18   opportunity to recapture ESPN subscribers among SLPTV customers, the availability of the

                                  19   programming accelerated the loss of higher-priced cable and satellite subscriptions. See id. ¶ 171.

                                  20                  6.     Disney Acquires Control of Hulu
                                  21          When Hulu announced its entry into the SLPTV market in May 2017, it stated that its Hulu

                                  22   + Live TV service would be priced at $39.99 per month and would include about 50 live television

                                  23   channels. CACC ¶ 169. In July 2017, Disney received shareholder approval to acquire 21st

                                  24   Century Fox (“Fox”), which held a one-third stake in Hulu. See id. ¶¶ 176, 179. Disney had been

                                  25   quietly acquiring shares of Hulu, and with the acquisition—which was publicly announced in

                                  26   December 2017—it controlled a majority of stakes in Hulu. See id. ¶¶ 174–79. In May 2019,

                                  27   Disney seized full operational control of Hulu pursuant to an agreement between Disney and

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                          5
                                          Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 6 of 32




                                   1   Hulu’s last remaining minority stakeholder, Comcast. See id. ¶¶ 9, 179–80. As of the date of

                                   2   Disney’s 2021 annual report, Disney owns 67% of Hulu, with the remaining interest—which

                                   3   Disney has committed to purchasing—held by NBC Universal. See id. ¶ 44.

                                   4          At the time Disney achieved full operational control of Hulu in May 2019, Hulu + Live TV

                                   5   was available at $44.99 per month for the base package. See id. ¶ 183. Disney repeatedly raised

                                   6   the monthly price of the base package for Hulu + Live TV: to $54.99 in November 2019, $64.99

                                   7   in November 2020, and $74.99 in November 2022. See id. ¶¶ 183–190.

                                   8          Plaintiffs allege that Disney sought to raise prices through Hulu without a competitive

                                   9   check, and thus had to foreclose the option that a competitor could offer a base streamlining live

                                  10   TV plan that excluded ESPN. See CACC ¶¶ 195–96. That is, Disney had to ensure that the next

                                  11   generation of carriage agreements allowed Disney to control competitors’ input costs by forcing

                                  12   ESPN onto base packages. Id. ¶ 195.
Northern District of California
 United States District Court




                                  13                  7.     Disney’s Post-Acquisition Carriage Agreements with SLPTV Providers
                                  14          The first major carriage agreement re-negotiation Disney faced after taking control of Hulu

                                  15   (and Hulu + Live TV) was with AT&T’s DirecTV, which at the time offered an SLPTV product

                                  16   called AT&T TV Now or DirecTV Now (now named DirecTV Stream). See id. ¶¶ 185, 197, 202–

                                  17   05, 227. The existing carriage agreement was set to expire in fall 2019. Id. ¶ 198. As the

                                  18   expiration date approached, Disney began to publicly warn DirecTV subscribers that they would

                                  19   soon lose access to ESPN and other Disney-controlled channels, such as those under the ABC and

                                  20   Disney Channel networks. Id. Disney began running warnings during ESPN’s Monday Night

                                  21   Football, which is “far-and-away the most-watched show on cable[] and one of the most-watched

                                  22   programs in the United States,” across all television channels and networks. Id. ¶ 199. Disney

                                  23   wrote messages such as “AT&T has refused to reach a fair, market-based agreement with us” and

                                  24   “ATTENTION CUSTOMERS, DON’T LOSE ESPN. CALL NOW” with a toll-free number. Id.

                                  25   ¶¶ 199–200. Five days later, rumors circulated that AT&T had given in to Disney’s carriage

                                  26   agreement demands; a deal was announced on September 22, 2019. Id. ¶ 201. The carriage

                                  27   agreement required AT&T to include ESPN in its SLPTV base package, which pushed AT&T to

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                          6
                                           Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 7 of 32




                                   1   raise its monthly base package price from $50 to $65 in October 2019—so that Disney’s

                                   2   November 2019 price increase for Hulu + Live TV remained about $10 cheaper that AT&T’s

                                   3   offering. See id. ¶¶ 185, 203–207.

                                   4          Plaintiffs allege that Disney similarly renegotiated its legacy carriage agreement with

                                   5   Google when the prior agreement was set to expire in late 2021, so that YouTube TV also did not

                                   6   offer a base package without ESPN. See CACC ¶¶ 207–226. Negotiations stalled between Disney

                                   7   and Google over MFN terms, with “YouTube[] . . . seeking a most-favored nation (MFN) clause

                                   8   from Disney” to “ensure that a lower price for Disney-owned content (principally, ESPN) offered

                                   9   to another streaming live TV provider would be offered to Google as well.” Id. ¶ 218.

                                  10          Plaintiffs allege that these carriage agreements meant that by mid-2022, the base packages

                                  11   offered by Hulu + Live TV, YouTube TV, and DirecTV Stream were essentially equal in price to

                                  12   those offered by traditional cable and satellite TV providers. See id. ¶ 231. Dish’s Sling TV was
Northern District of California
 United States District Court




                                  13   the only major streaming live TV service 1 without an MFN agreement with Disney, although its

                                  14   legacy carriage agreement with Disney did require that Sling TV include ESPN as part of its base

                                  15   bundle. See id. ¶¶ 228–231. Sling TV was in some respects an outlier among SLPTV products in

                                  16   that it was “notably less complete contentwise” than the leading services, and its prices were

                                  17   significantly lower than those of the three other products. Id. ¶ 231. However, the legacy carriage

                                  18   agreement expired in fall 2022, and Dish reached a deal with Disney two days after the agreement

                                  19   expired and Disney cut Sling TV and Dish subscribers’ access to ESPN and other Disney-

                                  20   controlled channels. See id. ¶¶ 234–240. The new carriage agreement required ESPN to be sold

                                  21   as part of Sling TV’s base package, and included an MFN clause. Id. ¶ 242. Shortly thereafter,

                                  22   Dish increased the price of its base Sling TV package for the first time in nearly two years. See id.

                                  23   ¶¶ 243–44.

                                  24          Plaintiffs allege that following Disney’s new carriage agreements with its major SLPTV

                                  25   competitors, the price of SLPTV base packages has risen substantially across the market. See

                                  26

                                  27   1
                                        Sony had shuttered its PlayStation Vue product by the end of 2019. See CACC ¶ 186.
                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                                      7
                                          Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 8 of 32




                                   1   CACC ¶ 246. There are no SLPTV package options without ESPN. Id. ¶ 249. As of July 2022,

                                   2   YouTube TV was the leading SLPTV provider, followed closely by Hulu + Live TV. See id. ¶

                                   3   248. Together, the two services serve approximately 70% of all SLPTV subscribers in the United

                                   4   States. Id. ¶ 249. The competitors charge roughly the same price for their services; no price

                                   5   increase for either service has been met with price competition in the form of lowered prices by a

                                   6   competitor. See id. ¶ 250–51. Plaintiffs allege that these effects on SLPTV prices is a direct

                                   7   consequence of Disney’s “web” of carriage agreements that force ESPN on providers and

                                   8   consumers and sets a price floor on subscriptions. See, e.g., CACC ¶¶ 86, 231, 246, 252, 334.

                                   9   According to Plaintiffs, Disney’s carriage agreements allow it to charge YouTube TV, DirecTV

                                  10   Stream, and Sling TV the same price it sets for Hulu + Live TV for any terms covered by the MFN

                                  11   clause, which the base term ensure includes ESPN fees. See id. ¶ 252. That is, Plaintiffs allege

                                  12   that “Disney maintains a direct cost input to its competitors’ base package prices.” Id.
Northern District of California
 United States District Court




                                  13                   8.     Plaintiffs
                                  14           There are 25 named plaintiffs in this action. See CACC ¶¶ 11–25, 29–38. Each named

                                  15   plaintiff is a current or former paying subscriber of either YouTube TV or DirecTV Stream. See

                                  16   id. Plaintiffs are residents of Arizona, California, Florida, Illinois, Iowa, Kentucky,

                                  17   Massachusetts, Michigan, Nevada, New York, North Carolina, Tennessee, and Washington. See

                                  18   id. The below table indicates each plaintiff’s name, subscription service, and state of residence.

                                  19    Name                               Subscription Service             State of Residence
                                  20    Heather Biddle                     YouTube TV                       California
                                  21    Jeffrey Kaplan                     YouTube TV                       Arizona
                                  22    Zachary Roberts                    YouTube TV                       Indiana
                                  23    Joel Wilson                        YouTube TV                       Kentucky
                                  24    Laura Molina                       YouTube TV                       California
                                  25    Dev Singh                          YouTube TV                       Florida
                                  26    Nicholas Dowd                      YouTube TV                       Florida
                                  27    Angel Hernandez          YouTube TV             New York
                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                            8
                                          Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 9 of 32




                                   1    David Kenward                    YouTube TV                        North Carolina
                                   2    Utica Cason                      YouTube TV                        North Carolina
                                   3    David Show                       YouTube TV                        Michigan
                                   4    Dustin Shapiro                   YouTube TV                        Michigan
                                   5    Tamika Anderson                  YouTube TV                        Michigan
                                   6    Connie Harrison                  YouTube TV                        Tennessee
                                   7    Don Knoch                        YouTube TV                        Arizona
                                   8    Michelle Fendelander             DirecTV Stream                    Nevada
                                   9    Ronda Lee Haines                 DirecTV Stream                    Massachusetts
                                  10    Michael Hughes                   DirecTV Stream                    Iowa
                                  11    John Manso                       DirecTV Stream                    Washington
                                  12    Jasmine McCormick                DirecTV Stream                    Illinois
Northern District of California
 United States District Court




                                  13
                                        Angela Heard                     DirecTV Stream                    California
                                  14
                                        Steven Tucker                    DirecTV Stream                    California
                                  15
                                        Scott Thompson                   DirecTV Stream                    Florida
                                  16
                                        Douglas Yarema                   DirecTV Stream                    New York
                                  17
                                        William Gaskins                  DirecTV Stream                    North Carolina
                                  18
                                                      9.       The Relevant Market
                                  19
                                              Plaintiffs allege that the relevant market is the SLPTV market in the United States. See
                                  20
                                       CACC ¶¶ 253–333.
                                  21
                                                             a.      Relevant Product Market
                                  22
                                              The SLPTV market is a distinct sub-market of the live pay television (“LPTV”) market.
                                  23
                                       See id. ¶ 253. The providers in the LPTV market are MVPDs, and include cable and satellite TV
                                  24
                                       providers, while the providers in the SLPTV market are vMVPDs. Id. The SLPTV market
                                  25
                                       includes subscription-based services that provide access to live television channels over a
                                  26
                                       broadband internet connection, provided as bundles of channels. Id. ¶ 254. SLPTV providers
                                  27

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                          9
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 10 of 32




                                   1   create “base” or “basic” packages of channels, where a basic package is the minimum number of

                                   2   bundled channels in a subscription. Id. ¶ 255. The SLPTV providers, rather than subscribers,

                                   3   choose the individual channels to include in a subscription bundle. See id. SLPTV products are

                                   4   generally available on multiple devices, including tablets, smart phones, PCs, laptops, televisions,

                                   5   and game consoles. Id. ¶ 257.

                                   6          Plaintiffs allege the following vMVPDs as SLPTV market participants: Google’s YouTube

                                   7   TV, Disney’s Hulu + Live TV, AT&T’s DirecTV Stream (previously branded DirecTV Now and

                                   8   AT&T Now), Dish’s Sling TV, and Fubo TV. CACC ¶ 303. As of late 2022, YouTube TV has

                                   9   the largest market share (38%) with over 5,000,000 subscribers, followed by Hulu + Live TV

                                  10   (31%) with approximately 4,100,000 subscribers. Id. ¶ 304. The shares of Sling TV, Fubo TV,

                                  11   and DirecTV Stream are, respectively, 17%, 8%, and 6%, as depicted in the chart below:

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23   See id. Revenue shares are distributed in approximately the same proportions. Id. ¶ 305.

                                  24          Plaintiffs allege the SLPTV market is protected by a powerful Carriage and Streaming

                                  25   Infrastructure Barrier to Entry (“CSIBE”). See CACC ¶ 317. “To credibly enter the SLPTV

                                  26   market, a company must traverse the CSIBE not only by obtaining computing power, distributed

                                  27   computing systems, large amounts of data storage, and local data servers, but also by developing

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         10
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 11 of 32




                                   1   custom file systems and software infrastructure to optimize streams.” Id. ¶ 323. Further, a

                                   2   prospective entrant must secure enough live television channels to become a viable pay television

                                   3   platform. Id. ¶ 330. Plaintiffs allege that Disney’s “web of carriage agreements with all market

                                   4   participants” requires a new entrant to enter into an agreement with Disney to provide content

                                   5   available on other platforms in the SLPTV market, so that Disney can prevent entry “by

                                   6   mandating onerous terms or by outright refusing to license live television content.” Id. ¶ 333.

                                   7          Plaintiffs allege the SLPTV market is highly concentrated. CACC ¶ 506. The Herfindahl-

                                   8   Hirschman Index (HHI) of the market shares is 2,794, which exceeds the 2,500-point guideline

                                   9   threshold set by the Department of Justice for a highly concentrated market. Id. ¶¶ 306–07.

                                  10                          b.     Relevant Geographic Market
                                  11          Plaintiffs allege that the relevant geographic market is the United States because (1)

                                  12   vMVPDs provide SLPTV content over broadband internet connections, which are available
Northern District of California
 United States District Court




                                  13   throughout the country; (2) an extensive network of licensing agreements prevents transmission

                                  14   SLPTV content outside of the United States; (3) live television content is governed by federal law

                                  15   concerning content restrictions; (4) the bundles of channels sold in the SLPTV market generally

                                  16   cater to United States consumers; (5) advertisers on SLPTV promote products and services to

                                  17   United States audiences; and (6) mMVPDs generally enforce United States territorial restrictions

                                  18   by obtaining geolocation information from subscribers and denying access to content outside of

                                  19   licensed regions. See id. ¶¶ 308–16.

                                  20                  10.     Class Allegations
                                  21          Plaintiffs allege the existence of two national classes and 15 state subclasses; the class

                                  22   period for each of the 17 classes is April 1, 2019, through the present. See CACC ¶¶ 372–405.

                                  23   The two national classes are the Nationwide YouTube TV Subscriber Class and the Nationwide

                                  24   DirecTV Stream Subscriber Class, defined as “[a]ll persons, business associations, entities, and

                                  25   corporations who paid for a . . . monthly subscription” to the relevant service during the class

                                  26   period. See id. ¶¶ 372–75. The 15 state subclasses consist of seven YouTube TV subscriber

                                  27   classes for residents of Arizona, California, Florida, Michigan, New York, North Carolina,

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         11
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 12 of 32




                                   1   Tennessee and eight DirecTV Stream subscriber classes for residents of California, Florida,

                                   2   Illinois, Iowa, Massachusetts, Nevada, New York, and North Carolina. See id. ¶¶ 376–405.

                                   3          B.      Procedural History
                                   4          This action was initiated on November 18, 2022, as a putative class action on behalf of a

                                   5   nationwide class of YouTube TV subscribers. See Compl. ¶¶ 342–43, ECF No. 1. On December

                                   6   7, 2022, the Court related the action to Fendelander v. Walt Disney Co., No. 22-cv-07533 (N.D.

                                   7   Cal.), which was initiated on November 30, 2022, as a nearly identical putative class action on

                                   8   behalf of a nationwide class of DirecTV Stream subscribers. See Order Relating Case, ECF No.

                                   9   12; see also Fendelander Compl. ¶¶ 345–46, ECF No. 1, No. 22-cv-07533 (N.D. Cal.). The

                                  10   complaints in each of the two actions alleged a single count for violation of Section 1 of the

                                  11   Sherman Antitrust Act, 15 U.S.C. § 1, on the ground that Disney’s carriage agreements are per se

                                  12   illegal horizontal agreements between competitors to restrict trade, or alternatively unlawful under
Northern District of California
 United States District Court




                                  13   the rule of reason as unreasonable restraints on trade. See, e.g., Compl. ¶¶ 356–75.

                                  14          Disney moved to dismiss both actions, and the Court granted in part with leave to amend

                                  15   and denied in part the motions on September 30, 2023. See Order Granting in Part, Denying in

                                  16   Part Mot. Dismiss Compl. (“First MTD Order”), ECF No. 51. In the First MTD Order, the Court

                                  17   granted Disney’s motions as to Plaintiffs’ per se theory with leave to amend, and denied the

                                  18   motions as to Plaintiffs’ rule of reason theory. See id.

                                  19          The Court consolidated the two actions on October 13, 2023. See ECF No. 53. Plaintiffs

                                  20   filed the operative CACC on October 18, 2023. See CACC. The CACC asserts one claim on

                                  21   behalf of each of the 17 alleged classes; the two nationwide class claims are for alleged violations

                                  22   of the Sherman Act, § 1, and the remaining 15 claims assert violations of state competition

                                  23   statutes. See CACC ¶¶ 418–599.

                                  24          Disney filed the instant motion to dismiss on December 1, 2023. See Mot. The Motion

                                  25   was fully briefed on February 2, 2024. See Opp’n, ECF No. 69; Reply, ECF No. 77. The Court

                                  26   heard oral argument on February 15, 2024.

                                  27

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         12
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 13 of 32




                                   1   II.    LEGAL STANDARD

                                   2          Federal Rule of Civil Procedure 8 requires a complaint to include “a short and plain

                                   3   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A

                                   4   complaint that fails to meet this standard may be dismissed pursuant to Federal Rule of Procedure

                                   5   12(b)(6). Rule 8(a) requires a plaintiff to plead “enough facts to state a claim to relief that is

                                   6   plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial

                                   7   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

                                   8   inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

                                   9   678 (2009). While a plaintiff must allege “more than a sheer possibility that a defendant has acted

                                  10   unlawfully,” the plausibility standard “is not akin to a probability requirement.” Id.

                                  11          When evaluating a Rule 12(b)(6) motion, courts generally “accept factual allegations in the

                                  12   complaint as true and construe the pleadings in the light most favorable to the nonmoving party.”
Northern District of California
 United States District Court




                                  13   Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Courts need

                                  14   not, however, “assume the truth of legal conclusions merely because they are cast in the form of

                                  15   factual allegations.” Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011) (per curiam). Mere

                                  16   “conclusory allegations of law and unwarranted inferences are insufficient to defeat a motion to

                                  17   dismiss.” Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004). Courts may also “look beyond

                                  18   the plaintiff’s complaint to matters of public record” without converting the Rule 12(b)(6) motion

                                  19   into a motion for summary judgment. Shaw v. Hahn, 56 F.3d 1128, 1129 (9th Cir. 1995).

                                  20   III.   REQUEST FOR JUDICIAL NOTICE
                                  21          Disney requests that the Court take judicial notice pursuant to Federal Rule of Evidence

                                  22   201(b) of the facts that Fubo TV did not carry the ESPN network from its inception in 2015 until

                                  23   2020, and that another SLPTV provider, Philo TV, has never carried the ESPN network at all. See

                                  24   Mot. 7 & n.1 (citing Todd Spangler, ESPN Is Finally Coming to FuboTV Lineup, Variety (June

                                  25   24, 2020), https://variety.com/2020/digital/news/espn-available-fubotv-lineup-1234648449/;

                                  26   Channel Lineup & TV Guide, Philo, https://www.philo.com/go/ channels). Plaintiffs do not

                                  27   oppose the request. See generally Opp’n.

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         13
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 14 of 32




                                   1          The doctrine of judicial notice codified in Federal Rule of Evidence 201 is one of the two

                                   2   mechanisms by which a district court may consider material outside the pleadings without

                                   3   converting a motion to dismiss into a motion for summary judgment; the other is the judicially-

                                   4   created doctrine of incorporation by reference. See Khoja v. Orexigen Therapeutics, Inc., 899

                                   5   F.3d 988, 998, 1002 (9th Cir. 2018). Federal Rule of Evidence 201 provides that a court may

                                   6   judicially notice a fact “not subject to reasonable dispute,” i.e., a fact that is “generally known” or

                                   7   that “can be accurately and readily determined from sources whose accuracy cannot reasonably be

                                   8   questioned.” Fed. R. Evid. 201(b)(1)–(2). If a judicially noticeable document contains disputed

                                   9   facts, the court may notice the existence of the document, but not the disputed facts therein. See

                                  10   Khoja, 899 F.3d at 999 (“[A] court cannot take judicial notice of disputed facts contained in

                                  11   [judicially noticeable] public records.”) (citation omitted).

                                  12          The Court grants Disney’s request for judicial notice of the availability of ESPN on Fubo
Northern District of California
 United States District Court




                                  13   TV and Philo TV, as the two webpages at issue are publicly accessible and Plaintiffs do not

                                  14   contest the accuracy of the facts therein. See, e.g., Perkins v. LinkedIn Corp., 53 F. Supp. 3d

                                  15   1190, 1205 (N.D. Cal. 2014) (“The Court GRANTS LinkedIn’s request for judicial notice of

                                  16   LinkedIn’s Help Page . . . . Plaintiffs do not oppose this request or otherwise contend that the

                                  17   document is inaccurate.”); In re Meta Pixel Tax Filing Cases, ---F. Supp. 3d ----, 2024 WL

                                  18   1251350, at *3 (N.D. Cal. Mar. 25, 2024) (taking judicial notice of existence and contents of terms

                                  19   of service available on defendant's website “because the document is publicly available from a

                                  20   source whose accuracy cannot reasonably be questioned and its contents can be accurately

                                  21   determined”); Vizcarra v. Michaels Stores, Inc., --- F. Supp. 3d ----, 2024 WL 64747, at *5 n.2

                                  22   (N.D. Cal. Jan. 5, 2024) (“The Court takes judicial notice of the existence and contents of the

                                  23   webpages Michaels has submitted which show certain Michaels private brand products for sale on

                                  24   Amazon.com and Walmart.com.”).

                                  25   IV.    DISCUSSION
                                  26          The CACC asserts claims under the Sherman Act and under various state statutes of 11

                                  27   states: Arizona, California, Florida, Illinois, Iowa, Massachusetts, Michigan, Nevada, New York,

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         14
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 15 of 32




                                   1   North Carolina, and Tennessee law. See CACC ¶¶ 418–599. Disney argues that the CACC

                                   2   should be dismissed in its entirety because (1) Plaintiffs fail to allege either a per se or rule of

                                   3   reason violation of § 1 of the Sherman Act and (2) the state law claims either fall with the federal

                                   4   claims; are independently insufficiently pleaded in the cases of Massachusetts and Florida; and are

                                   5   otherwise barred in the cases of Illinois and Tennessee. See generally Mot. The Court turns to

                                   6   these arguments in turn.

                                   7           A.      Sherman Act § 1 Claims
                                   8           The Sherman Act provides that “[e]very contract, combination in the form of trust or

                                   9   otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with

                                  10   foreign nations, is declared to be illegal.” 15 U.S.C. § 1. A plaintiff asserting a claim under § 1

                                  11   must plead: “(1) a ‘contract, combination or conspiracy among two or more persons or distinct

                                  12   business entities’; (2) which is intended to restrain or harm trade; (3) ‘which actually injures
Northern District of California
 United States District Court




                                  13   competition’; and (4) harm to the plaintiffs from the anticompetitive conduct.” Name.Space, Inc.

                                  14   v. Internet Corp. for Assigned Names & Numbers, 795 F.3d 1124, 1129 (9th Cir. 2015) (quoting

                                  15   Brantley v. NBC Universal, Inc., 675 F.3d 1192, 1197 (9th Cir. 2012)). “Because § 1 . . . does not

                                  16   prohibit all unreasonable restraints of trade but only restraints effected by a contract, combination,

                                  17   or conspiracy, the crucial question is whether the challenged anticompetitive conduct stems from

                                  18   independent decision or from an agreement, tacit or express.” Id. (alteration in original) (quoting

                                  19   Twombly, 550 U.S. at 553). Certain restraints are deemed unlawful per se, but restraints of trade

                                  20   are generally tested for legality under the rule of reason standard. See Leegin Creative Leather

                                  21   Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 885–86 (2007) (citations omitted).

                                  22           Plaintiffs assert a Sherman Act § 1 claim on behalf of each of the nationwide YouTube TV

                                  23   and DirecTV Stream subscriber classes, alleging that Disney’s carriage agreements are horizontal

                                  24   agreements with competitors that are per se illegal or, alternatively, unlawful under the rule of

                                  25   reason analysis. See CACC ¶¶ 418–61. Disney argues that Plaintiffs fail to state a claim under

                                  26   either theory, and Plaintiffs, unsurprisingly, disagree. Disney additionally argues that Plaintiffs

                                  27   lack standing to seek damages under the Sherman Act because they are indirect purchasers.

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         15
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 16 of 32




                                   1          Before turning to the parties’ arguments, the Court notes at the outset that although it

                                   2   addressed many of the Sherman Act arguments in the First MTD Order, an amended complaint

                                   3   supersedes any prior complaint and is fairly subject to renewed challenge on a motion to dismiss.

                                   4   See, e.g., Ferdik v. Bonzelet, 963 F.2d 1258, 1262 (9th Cir.1992) (“[A]fter amendment the original

                                   5   pleading no longer performs any function and is treated thereafter as non-existent.”); In re Sony

                                   6   Grand Wega KDF-E A10/A20 Series Rear Projection HDTV Television Litig., 758 F. Supp. 2d

                                   7   1077, 1098 (S.D. Cal. 2010) (evaluating renewed arguments brought by defendant on motion to

                                   8   dismiss amended complaint on the ground that “[w]hen Plaintiffs filed the FACC, it superseded

                                   9   their previous complaint, and Sony was therefore free to move again for dismissal”); see also City

                                  10   of L.A., Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 888 (9th Cir. 2001) (holding that

                                  11   the law of the case doctrine “simply does not impinge upon a district court's power to reconsider

                                  12   its own interlocutory order provided that the district court has not been divested of jurisdiction
Northern District of California
 United States District Court




                                  13   over the order”).

                                  14                  1.      Per Se Theory
                                  15          The Supreme Court has held that certain categories of restraints are “necessarily” or per se

                                  16   illegal; such categorization “eliminates the need to study the reasonableness of an individual

                                  17   restraint in light of the real market forces at work.” Leegin, 551 U.S. at 886 (citing Bus. Elecs.

                                  18   Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 723 (1988)); see also Nat’l Soc’y of Prof. Eng’rs v.

                                  19   United States, 435 U.S. 679, 692 (1978) (“[A]greements whose nature and necessary effect are so

                                  20   plainly anticompetitive that no elaborate study of the industry is needed to establish their illegality

                                  21   . . . are illegal per se.”) (internal quotation marks omitted). “[T]he per se rule is appropriate only

                                  22   after courts have had considerable experience with the type of restraint at issue, . . . and only if

                                  23   courts can predict with confidence that it would be invalidated in all or almost all instances under

                                  24   the rule of reason.” Id. at 886–87 (internal punctuation and citations omitted). Courts have found

                                  25   restraints to be per se unlawful where they “include horizontal agreements among competitors to

                                  26   fix prices . . . or to divide markets.” Id. at 886 (internal punctuation and citations omitted); see

                                  27   also, e.g., Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Okla. (“NCAA”), 468 U.S.

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         16
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 17 of 32




                                   1   85, 100 (1984) (“Horizontal price fixing and output limitation are ordinarily condemned as a

                                   2   matter of law under an ‘illegal per se’ approach because the probability that these practices are

                                   3   anticompetitive is so high.”). A vertical restraint, on the other hand, “is not illegal per se unless it

                                   4   includes some agreement on price or price levels.” Bus. Elecs. Corp., 485 U.S. at 735–36. Courts

                                   5   are “reluctan[t] to adopt per se rules with regard to restraints imposed in the context of business

                                   6   relationships where the economic impact of certain practices is not immediately obvious.” Leegin,

                                   7   551 U.S. at 887 (quoting State Oil Co. v. Khan, 522 U.S. 3, 10 (1997)).

                                   8          Here, Disney argues that Plaintiffs fail to state a claim for a per se violation of § 1 of the

                                   9   Sherman Act. See Mot. 10–13. Specifically, Disney argues that the challenged restraints here are

                                  10   vertical because the carriage agreements are between ESPN and SLPTV providers, rather than

                                  11   between competitors in the same market, so that the per se rule cannot apply. See id. at 11–13.

                                  12   Disney further notes that the Court previously found these agreements to be vertical, and argues
Northern District of California
 United States District Court




                                  13   that the same conclusion applies here because Plaintiffs have not amended or expanded any

                                  14   relevant allegations in the CACC. See id. at 10–11. Plaintiffs counter that the CACC alleges that

                                  15   Disney, ESPN, and Hulu operate as a single economic entity with a unity of purpose, and that

                                  16   Disney’s negotiations with SLPTV providers on ESPN’s behalf necessarily also constitute

                                  17   negotiations between Hulu and its competitors. See Opp’n 11–14.

                                  18          The parties implicitly agree that the carriage agreements can be considered horizontal only

                                  19   if they are made between SLPTV providers. Further, there is agreement that SLPTV providers

                                  20   such as YouTube TV are on one side of the negotiating table for the ESPN carriage agreements.

                                  21   Thus, for a provider such as YouTube TV to enter a horizontal agreement with a Disney-affiliated

                                  22   company, it must be possible to name Hulu + Live TV as the counterparty. Plaintiffs argue that

                                  23   the unity of purpose between Disney, ESPN, and Hulu permits this conclusion; Disney disagrees.

                                  24          In Copperweld Corporation v. Independent Tube Corporation, the Supreme Court held

                                  25   that a parent and its wholly-owned subsidiary are incapable of conspiring in violation of § 1 of the

                                  26   Sherman Act because they “always have a ‘unity of purpose or a common design.’” 467 U.S. 752,

                                  27   771 (1984). However, although Copperweld holds that “a subsidiary shares the purposes and

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         17
                                           Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 18 of 32




                                   1   intentions of the parent when it acts in coordination with the parent,” it “does not supply a theory

                                   2   of unbounded vicarious liability for the acts of legally distinct entities” and “does not support

                                   3   holding a subsidiary liable for the parent’s independent conduct.” Arandell Corp. v. Centerpoint

                                   4   Energy Servs., Inc., 900 F.3d 623, 633 (9th Cir. 2018) (citing Lenox MacLaren Surgical Corp. v.

                                   5   Medtronic, Inc., 847 F.3d 1221, 1237 (10th Cir. 2017)). 2 Accordingly, a subsidiary is not

                                   6   presumed liable for the act of another subsidiary of the same parent company. See id.

                                   7          Thus, the question of whether Hulu can be said to be the Disney-affiliated entity

                                   8   negotiating ESPN carriage agreements with SLPTV providers such as YouTube TV must be

                                   9   answered in the negative. Plaintiffs have alleged that Disney negotiates the carriage agreements

                                  10   on behalf of ESPN. See CACC ¶ 46. That Disney owns 67% of Hulu and has full operational

                                  11   control of the entity, see id. ¶ 44, does not mean that Hulu can be said to have been the negotiator

                                  12   of or signatory to the ESPN carriage agreements. The CACC alleges that Disney, Hulu, and
Northern District of California
 United States District Court




                                  13   ESPN act as a single economic entity with unity of purpose, see id. ¶¶ 3, 44, but even taking this

                                  14   allegation as true, Arandell teaches that such unity of purpose under Copperweld does not mean

                                  15   that the acts of one entity in a family of companies may be imputed to any other wholly-related

                                  16   entity. See Arandell, 900 F.3d at 633–34. The Court therefore refuses once again to extend

                                  17   Copperweld to hold that Disney’s carriage agreement negotiations on behalf of ESPN may be

                                  18   imputed to Hulu. See First MTD Order 9–15.

                                  19          Accordingly, the Court will dismiss Plaintiffs’ claims under § 1 of the Sherman Act to the

                                  20   extent they allege a per se violation. 3 Further, because the Court has previously granted leave to

                                  21   amend, it finds that leave would be futile, and the dismissal will be without leave to amend.

                                  22

                                  23

                                  24   2
                                         Plaintiffs in Arandell sued for violation of a Wisconsin antitrust statute, but Wisconsin courts’
                                  25   “interpretation of Wisconsin Statute § 133.03 ‘is controlled by federal court decisions under the
                                       Sherman Act.’” Arandell, 900 F.3d at 629 (quoting Ford Motor Co. v. Lyons, 405 N.W.2d 354,
                                  26   367 (Wis. Ct. App. 1987)).
                                       3
                                  27     Plaintiffs do not argue that the carriage agreements might be per se illegal vertical restraints, so
                                       the Court does not evaluate this question. See Opp’n 11–14.
                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                                         18
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 19 of 32




                                   1                  2.      Rule of Reason Theory

                                   2          Plaintiffs assert their two Sherman Act claims in the alternative as unlawful violations of §

                                   3   1 under the rule of reason standard. See CACC ¶¶ 428, 450. “The rule of reason is the accepted

                                   4   standard for testing whether a practice restrains trade in violation of § 1.” Leegin, 551 U.S. at 885

                                   5   (citing Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006)). A § 1 rule of reason claim requires four

                                   6   separate elements:

                                   7                  (1) a contract, combination or conspiracy among two or more persons
                                                      or distinct business entities;
                                   8                  (2) by which the persons or entities intended to harm or restrain trade
                                                      or commerce among the several States, or with foreign nations;
                                   9                  (3) which actually injures competition[]” . . . [and]
                                                      (4) [plaintiffs] are the proper parties to bring the antitrust action
                                  10                  because they were harmed by the defendants’ contract, combination,
                                                      or conspiracy, and the harm they suffered was caused by the anti-
                                  11                  competitive aspect of the defendants’ conduct.
                                  12   In re Nat’l Football League’s Sunday Ticket Antitrust Litig. (“Sunday Ticket”), 933 F.3d 1136,
Northern District of California
 United States District Court




                                  13   1150 (9th Cir. 2019) (quoting Brantley, 675 F.3d at 1197) (internal quotation marks and citations

                                  14   omitted). The “threshold step” is to “accurately define the relevant market, which refers to ‘the

                                  15   area of effective competition.’” FTC v. Qualcomm Inc. (“Qualcomm”), 969 F.3d 974, 992 (9th

                                  16   Cir. 2020) (quoting Ohio v. Am. Express Co. (“AmEx”), 585 U.S. 529, 543 (2018)). But where a

                                  17   plaintiff plausibly alleges that a defendant has “imposed ‘a naked restriction’ on output,” “‘no

                                  18   elaborate industry analysis is required.’” Sunday Ticket, 933 F.3d at 1155–56 (quoting NCAA, 468

                                  19   U.S. at 109); see also City of Oakland v. Oakland Raiders, 445 F. Supp. 3d 587, 600 n.9 (N.D.

                                  20   Cal. 2020) (“In some cases involving naked restrictions on output, a plaintiff may not be required

                                  21   to establish a relevant market, even under the rule of reason.”) (internal quotation marks and

                                  22   alterations omitted) (citing Sunday Ticket, 933 F.3d at 1152), aff’d, 20 F.4th 441 (9th Cir. 2021).

                                  23          Disney argues that Plaintiffs fail to plead the relevant antitrust market and have not

                                  24   identified agreements that unreasonably restrain trade, i.e., fail to plead the second and third

                                  25   elements of a rule of reason claim. See Mot. 14–25. The court addresses these arguments in turn.

                                  26                          a.      Relevant Market
                                  27          A relevant market is comprised of a relevant geographic market and a relevant product

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         19
                                           Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 20 of 32




                                   1   market. See Thurman Indus., Inc. v. Pay ’N Pak Stores, Inc., 875 F.2d 1369, 1373 (9th Cir. 1989).

                                   2   Plaintiffs allege that the relevant market consists of the SLPTV market in the United States, i.e.,

                                   3   the United States market in which SLPTV providers sell bundles of live TV channels, which are

                                   4   delivered over a broadband internet connection, to subscribers. See CACC ¶¶ 253–54, 308.

                                   5   Disney makes three arguments as to the failures of Plaintiffs’ proposed market, but only one—the

                                   6   purported failure to allege that Disney has market power in the SLPTV market, see Mot. 18—is

                                   7   properly evaluated in the relevant market analysis. The other two arguments, i.e., that Plaintiffs

                                   8   allege a market restraint outside the SLPTV market and that Plaintiffs lack antitrust standing, see

                                   9   id. at 14–18, go to the enumerated elements of a rule of reason claim, and the Court will address

                                  10   those arguments below. 4

                                  11          Before turning to Disney’s argument about allegations of market power, the Court must

                                  12   first determine the relevant market. The Court previously found that Plaintiffs plausibly alleged
Northern District of California
 United States District Court




                                  13   that the SLPTV market is a distinct submarket of the broader LPTV market because, for example,

                                  14   industry participants distinguish SLPTV providers for distributing content over the internet; the

                                  15   SLPTV market has distinct customers from the LPTV market in that they skew younger and prefer

                                  16   to view content using hand-held devices, rather than television consoles; and SLPTV channel

                                  17   packages have historically included fewer channels than LPTV bundles and are accordingly

                                  18   cheaper and less sensitive to price changes. See First MTD Order 17; see also Newcal Indus., Inc.

                                  19   v. Ikon Office Sol., 513 F.3d 1038, 1045 (9th Cir. 2008) (noting practical indicia of economically

                                  20   distinct submarket include “industry or public recognition of the submarket as a separate economic

                                  21   entity, the product's peculiar characteristics and uses, unique production facilities, distinct

                                  22   customers, distinct prices, sensitivity to price changes, and specialized vendors”) (quoting Brown

                                  23

                                  24   4
                                         The Court recognizes that it previously addressed the former argument in its evaluation of the
                                  25   relevant market, see First MTD Order 18, but now notes that Qualcomm, on which it relied,
                                       merely emphasizes the need for a well-defined relevant market in conducting the rule of reason
                                  26   analysis. See Qualcomm, 969 F.3d at 992 (stating that “[c]ourts usually cannot properly apply the
                                       rule of reason without an accurate definition of the relevant market,” including because, “in
                                  27   assessing alleged antitrust injuries, courts must focus on anticompetitive effects ‘in the market
                                       where competition is allegedly being restrained’”) (internal alterations and citations omitted).
                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                                          20
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 21 of 32




                                   1   Shoe Co. v. United States, 370 U.S. 294, 325 (1962)). Those allegations are unchanged, see

                                   2   CACC ¶¶ 258–302, and the Court sees no reason to deviate from that holding here as to the

                                   3   relevant product market. Disney does not appear to dispute that the United States is the relevant

                                   4   geographic market. See generally Mot. 14–18. The Court therefore finds that the relevant market

                                   5   is the SLPTV market in the United States, in which SLPTV providers sell live TV services.

                                   6          In addition to alleging a relevant market, a plaintiff “must allege . . . that the defendant has

                                   7   power within that market.” Newcal, 513 F.3d at 1044. Disney argues that neither Disney nor

                                   8   ESPN participates in the SLPTV market of selling live TV to subscribers, and that Plaintiffs do

                                   9   not allege that Hulu—whose product, Hulu + Live TV, has a 31% market share—gives Disney

                                  10   market power in the SLPTV market. See Mot. 18. As Disney notes, “[m]arket power is the ability

                                  11   to raise price profitably by restricting output.” Mot. 6 (quoting AmEx, 585 U.S. at 549). Here,

                                  12   Plaintiffs allege that Disney, through its control and negotiations on behalf of ESPN, is able (1) to
Northern District of California
 United States District Court




                                  13   restrict SLPTV providers from selling subscription packages without ESPN through the carriage

                                  14   agreement requirement that SLPTVs carry ESPN even in basic bundles, and therefore (2) to raise

                                  15   prices through its control of Hulu and the MFN clause, which allows Disney to impose the price

                                  16   Hulu pays for ESPN on the other SLPTV providers. See CACC ¶¶ 246–52. Because Plaintiffs

                                  17   have specifically alleged that the terms of the MFN provision permit Disney to set a price floor

                                  18   and raise its competitors’ ESPN prices (which translate to the subscription package prices)

                                  19   whenever it raises Hulu’s prices, the Court finds Plaintiffs’ allegations sufficient to plead Disney’s

                                  20   market power in a well-defined SLPTV market in the United States.

                                  21          Despite this conclusion, the Court notes here that Plaintiffs’ allegations regarding the MFN

                                  22   term appear somewhat inconsistent. In one bucket of allegations, Plaintiffs assert that the MFN

                                  23   clause permits Disney to “force a functional price [floor] on the market” because if it “raises Hulu

                                  24   + Live TV prices, it can raise MFN terms up to that price point.” Id. ¶ 252; see also, e.g., id. ¶ 98

                                  25   (“[T]he MFN Price Term allows Disney to set the lowest price available for ESPN across the

                                  26   entire market.”). But in another bucket, Plaintiffs allege that SLPTV providers desire MFN terms

                                  27   and that Disney is reluctant to include them in carriage agreements because they set a price ceiling

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         21
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 22 of 32




                                   1   and may require Disney to lower its prices. See, e.g., CACC ¶ 94 (“[An MFN provision] means

                                   2   that when ESPN makes a deal with DirecTV for better terms than what ESPN first gave Dish,

                                   3   ESPN is then obligated to equal the playing field.”); id. ¶ 218 (describing stalled negotiations

                                   4   between Disney and Google for YouTube TV carriage agreement based on Google seeking MFN

                                   5   clause); id. ¶ 238 (describing difficulty for “cable network owner,” i.e., content owner such as

                                   6   ESPN, to budge on channel price because MFNs require owner to pass lower prices given to one

                                   7   distributor to other operators with same size subscriber base); id. ¶ 343 (“Put simply, the MFN

                                   8   Price Term ensures that if Disney provides another service a lower price, then that price becomes

                                   9   the applicable price for its counterparty.”). In yet a third bucket, Plaintiffs allege that “using MFN

                                  10   clauses in carriage agreements . . . ensure[d] that ESPN remained part of AT&T/DirecTV’s base

                                  11   streaming live TV offering,” id. ¶ 206, even though this result seems more likely the result of the

                                  12   base term rather than the MFN term. These varied allegations muddy the waters with respect to
Northern District of California
 United States District Court




                                  13   the specific terms and likely effects of the MFN clauses in Disney’s ESPN carriage agreements

                                  14   with SLPTV providers. Nonetheless, at this stage of the action, the Court will draw all inferences

                                  15   in Plaintiffs’ favor and presume that any contradiction in Plaintiffs’ allegations resolves in favor of

                                  16   the MFN clause permitting Disney to set a price floor using Hulu. Further, the Court will use this

                                  17   inference regarding the MFN term throughout this order.

                                  18          Accordingly, drawing all inferences in Plaintiffs’ favor, the Court once again finds

                                  19   Plaintiffs’ allegations sufficient to plead Disney’s market power in a well-defined SLPTV market

                                  20   in the United States. See First MTD Order 19.

                                  21                          b.      Restraint of Trade Which Actually Injures Competition
                                  22          Because the Court finds that Plaintiffs have adequately alleged a well-defined relevant

                                  23   market and Disney’s power therein, it now turns to the question of whether Plaintiffs have

                                  24   sufficiently pleaded the second and third elements of a rule of reason claim, i.e., have pleaded a

                                  25   restraint of trade which actually injures competition. Disney argues, as noted above, see supra, at

                                  26   Part IV(A)(2)(a), that the CACC is deficient because Plaintiffs do not allege that competition is

                                  27   being restrained in the relevant SLPTV market in the United States in which SLPTV providers sell

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         22
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 23 of 32




                                   1   TV subscription packages to consumers, but rather in the upstream market in which SLPTV

                                   2   providers purchase channels and content, such as ESPN. See Mot. 14. Disney also argues that

                                   3   Plaintiffs have failed to allege that the restraints at issue—the ESPN base term and MFN term—

                                   4   actually injure competition in the relevant market because (1) the base term’s effect of raising

                                   5   prices and reducing consumer choice is an insufficient injury as a matter of law and (2) the MFN

                                   6   term helps rather than harms competition because (a) it permits an SLPTV provider to demand a

                                   7   lower price if Disney gives any other provider that lower price and (b) Plaintiffs have not alleged

                                   8   facts plausibly suggesting that Disney has used the MFN term for anticompetitive ends. See Mot.

                                   9   19–20. Disney further argues that the Court should deviate from the First MTD Order and find

                                  10   that Plaintiffs do not sufficiently allege that the challenged restraints were the cause of any barriers

                                  11   to entry in the market, and that the alleged barriers are not plausible. See id. at 20–24 (citing

                                  12   Brantley, 675 F.3d at 1195–1203). Plaintiffs respond that the Court has already found their
Northern District of California
 United States District Court




                                  13   allegations sufficient to state a rule of reason claim, and that it should do so once again because

                                  14   the CACC plausibly alleges that the carriage agreements injure competition in relevant SLPTV

                                  15   market. See Opp’n 14–21. Plaintiffs also argue that Brantley is inapplicable because its reasoning

                                  16   concerned only tying claims. See id. at 16–19.

                                  17          As a threshold matter, the Court finds that Plaintiffs allege conduct restraining competition

                                  18   in the relevant SLPTV market—i.e., the market in which subscribers purchase live TV packages—

                                  19   rather than in the upstream market in which SLPTV providers purchase channels and content. It is

                                  20   true that the carriage agreements at issue are made between parties in the upstream market, i.e.,

                                  21   between ESPN and the SLPTV providers. See, e.g., CACC ¶¶ 197–245. Crucially, however,

                                  22   Plaintiffs allege that Disney uses the carriage agreements and its control of Hulu to decrease

                                  23   competition in the relevant downstream SLPTV market to sell subscription packages to

                                  24   consumers. See id. ¶ 194 (“From the moment it obtained control over Hulu, Disney raised prices

                                  25   [in the SLPTV market] with impunity—as well as the primary cost input of its competitors.”)

                                  26   (emphasis added); ¶ 204 (“In short, through its new carriage agreement with AT&T, Disney not

                                  27   only ensured that AT&T[] could not undercut Hulu + Live TV on price[,] . . . it ensured that . . .

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         23
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 24 of 32




                                   1   AT&T’s costs were high enough for streaming live TV programming that AT&T[] had to push its

                                   2   base price, which had to include ESPN, well above Hulu + Live TV’s price, even after an

                                   3   additional hike by Disney.”). Plaintiffs therefore plausibly allege that Disney’s combined actions

                                   4   in the upstream and downstream markets prevent players in the relevant downstream SLPTV

                                   5   market—e.g., AT&T’s DirectTV Stream—from engaging in competitive actions such as lowering

                                   6   price to gain additional subscribers. The harm to competition caused by the Disney’s conduct

                                   7   with the carriage agreements and its control of Hulu is thus alleged as taking place in the correct

                                   8   relevant market, i.e., the SLPTV provider market to sell subscriptions to consumers. See

                                   9   Qualcomm, 969 F.3d at 992 (noting that the rule of reason analysis “must focus on . . . [‘]the

                                  10   market where competition is allegedly being restrained’”) (alterations omitted) (quoting Am. Ad.

                                  11   Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1057 (9th Cir. 1999)); cf. Feitelson v. Google

                                  12   Inc., 80 F. Supp. 3d 1019, 1027–28 (N.D. Cal. 2015) (granting motion to dismiss where plaintiffs
Northern District of California
 United States District Court




                                  13   alleged anticompetitive harm occurred in downstream phone market, but anticompetitive conduct

                                  14   occurred solely in upstream internet search and handheld search markets).

                                  15          Turning to Disney’s other arguments, the Court first reiterates its prior finding that the

                                  16   CACC permits a reasonable inference that Disney has used the MFN term in conjunction with the

                                  17   ESPN base term to raise Hulu + Live TV’s prices without suffering from price competition. See

                                  18   supra, at Part IV(A)(2)(a). Further, although Disney asserts that Plaintiffs only allege harm to

                                  19   consumers, rather than competition, Plaintiffs in fact allege that Disney’s conduct prevents normal

                                  20   price competition among rivals in the SLPTV market. See CACC ¶¶ 251–52.

                                  21          Plaintiffs also allege that Disney’s conduct harms competition by raising barriers to entry

                                  22   in the SLPTV market by adding an expensive ESPN carriage agreement to the already significant

                                  23   costs of entry. See CACC ¶¶ 317–34. The Court agrees with Disney that this allegation does not

                                  24   state an injury to competition. First, barriers to entry are not typically considered as injurious to

                                  25   competition in and of themselves, but are instead “consider[ed] . . . in the course of assessing the

                                  26   market power of a firm or firms in order to judge whether that power is too great to permit certain

                                  27   horizontal agreements, mergers, or exclusionary acts.” Areeda & Hovenkamp, Antitrust Law: An

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         24
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 25 of 32




                                   1   Analysis of Antitrust Principles and Their Application (CCH) (“Antitrust Law”) ¶ 421b (2024

                                   2   Suppl.). Even if entry barriers were relevant in the present analysis, Plaintiffs’ allegations do not

                                   3   meet the antitrust definition of such barriers. See Los Angeles Land Corp. v. Brunswick Corp., 6

                                   4   F.3d 1422, 1427 (9th Cir. 1993) (“Barriers to entry may be defined as either ‘additional long-run

                                   5   costs that were not incurred by incumbent firms but must be incurred by new entrants,’ or ‘factors

                                   6   in the market that deter entry while permitting incumbent firms to earn monopoly returns.’”)

                                   7   (quoting Antitrust Law ¶ 409 (1992 Suppl.)). However, Plaintiffs are not required to specifically

                                   8   allege barriers to competition to show an actual antitrust injury; the Court’s finding as to the

                                   9   plausible allegation of harm to price competition in the relevant market is sufficient. See, e.g.,

                                  10   Sunday Ticket, 933 F.3d at 1151–56 (finding agreement placing artificial restraint on televised

                                  11   programs alleged injury to competition where injury was “naked restriction on output” and

                                  12   omitting any discussion of entry barriers).
Northern District of California
 United States District Court




                                  13          Accordingly, the Court finds that Plaintiffs have plausibly alleged that Disney’s conduct

                                  14   restrains trade and injures competition in the relevant SLPTV market. The Court will therefore

                                  15   deny Disney’s motion to dismiss Plaintiffs’ claims for a violation of § 1 of the Sherman Act under

                                  16   a rule of reason theory.

                                  17                  3.      Standing to Sue for Damages Under the Sherman Act
                                  18          Disney last challenge to Plaintiffs’ federal claim concerns Plaintiffs’ ability to pursue

                                  19   damages for violations of the Sherman Act, as opposed to merely injunctive relief. See Mot. 24–

                                  20   25; CACC, Prayer for Relief ¶¶ C, D. Federal law provides that “any person who shall be injured

                                  21   in his business or property by reason of anything forbidden in the antitrust laws may sue” for

                                  22   treble damages, prejudgment interest, and costs of suit, including attorney fees. 15 U.S.C. § 15(a).

                                  23   However, the Supreme Court has rejected the use of a “pass-on” theory of damages, wherein the

                                  24   alleged antitrust injury first increased costs for a direct purchaser who then passed on the price

                                  25   increase (or other injury) to the plaintiffs. See Illinois Brick Co. v. Illinois, 431 U.S. 720, 736–47

                                  26   (1977). The Illinois Brick decision “established a bright-line rule that authorizes suits [for

                                  27   damages] by direct purchasers but bars suits by indirect purchasers.” Apple Inc. v. Pepper, 587

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         25
                                           Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 26 of 32




                                   1   U.S. 273, 279 (2019) (citing Illinois Brick, 431 U.S. at 746). 5 Direct purchasers are “the

                                   2   immediate buyers from the alleged antitrust violators,” Kansas v. UtiliCorp United, Inc., 497 U.S.

                                   3   199, 207 (1990), and thus indirect purchasers are “two or more steps removed from the antitrust

                                   4   violator in a distribution chain,” Apple, 587 U.S. at 280.

                                   5          The Ninth Circuit has stated that the principles underlying Illinois Brick “apply differently

                                   6   when the injury to plaintiffs is caused by a multi-level conspiracy to violate antitrust laws[,]” such

                                   7   as where producers and retailers conspire to fix retail prices. Sunday Ticket, 933 F.3d at 1156

                                   8   (citing Arizona v. Shamrock Foods Co., 729 F.2d 1208 (9th Cir. 1984)). This so-called “co-

                                   9   conspirator exception” to the Illinois Brick rule “‘is not really an exception at all,’ but rather

                                  10   describes a situation in which Illinois Brick is simply not applicable.” Id. at 1157 (quoting In re

                                  11   ATM Antitrust Fee Litig., 686 F.3d 741, 750 (9th Cir. 2012)). Thus, if a plaintiff alleges that “co-

                                  12   conspirators have jointly committed the antitrust violation,” then “a plaintiff who is the immediate
Northern District of California
 United States District Court




                                  13   purchaser from any of the conspirators is directly injured by the violation” because “there is no

                                  14   pass-on theory involved.” Id. at 1157 (citing Pepper, 587 U.S. at 282–83). The Ninth Circuit has

                                  15   held that the co-conspirator exception applies equally to price-fixing and output-restricting

                                  16   conspiracies. See id. at 1157–58.

                                  17          Disney argues that Plaintiffs are indirect purchasers with a pass-on theory of damages

                                  18   because they allege that the SLPTV providers from whom they purchased subscription packages

                                  19   “bear and pass on the cost” of ESPN. Reply 14 (quoting CACC ¶ 354); see also Mot. 24–25.

                                  20   Plaintiffs argue that they “purchased SLPTV products directly from one of Disney’s co-

                                  21   conspirators, YouTube TV and DirecTV” and are therefore direct purchasers similar to the

                                  22   plaintiffs in Sunday Ticket. Opp’n 27; see id. at 25–28.

                                  23          The CACC alleges that “Plaintiffs[] . . . are SLPTV direct purchasers from Disney’s co-

                                  24   conspirators and counterparties YouTube TV and DirecTV Stream.” CACC ¶ 10. However, the

                                  25

                                  26   5
                                         The Supreme Court noted that Apple, like Illinois Brick, did not address indirect purchaser
                                  27   standing to seek injunctive relief. See 587 U.S. at 279 n.1. The Ninth Circuit has found indirect
                                       purchasers to have standing to seek such relief. See Sunday Ticket, 933 F.3d at 1156 n.6.
                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                                        26
                                           Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 27 of 32




                                   1   Court need not accept as true the allegation’s legal conclusion that Plaintiffs are direct purchasers,

                                   2   particularly as the CACC makes clear that Plaintiffs’ theory of harm is that “Disney’s web of

                                   3   carriage agreements force ESPN on rivals and consumers, which has allowed Disney to raise

                                   4   prices,” and that the carriage agreements “allow[] [Disney] to impose costs on competitors,”

                                   5   which are passed through to SLPTV subscribers. CACC Section Headings VII(A), (C)

                                   6   (capitalizations omitted and emphasis added); see also, e.g., id. ¶¶ 353 (“ESPN is the largest cost

                                   7   for any SLPTV provider[,] [who] must pass that cost onto consumers.”), 363 (“These horizontal

                                   8   agreements harm competition in the SLPTV Market by allowing Disney to set and maintain

                                   9   market-wide prices and to impose costs on rivals that it does not bear.”). In sum, Plaintiffs’ non-

                                  10   conclusory allegations establish that Plaintiffs purchased their subscriptions from YouTube TV

                                  11   and DirecTV after Disney allegedly raised those providers’ costs by forcing them to agree to the

                                  12   ESPN base term and MFN term. See, e.g., CACC ¶¶ 197–206 (alleging that Disney’s new
Northern District of California
 United States District Court




                                  13   carriage agreement with AT&T “ensured that its rival AT&T’s costs were high enough . . . that

                                  14   AT&T/DirecTV Now had to push its base price” above Hulu’s and that “[t]he price differential

                                  15   was ruinous” for DirecTV).

                                  16          These allegations establish that Plaintiffs are not similarly situated to the plaintiffs in

                                  17   Sunday Ticket, who purchased subscriptions from DirecTV and alleged that DirecTV was a direct

                                  18   co-conspirator who agreed with the NFL to limit output by executing agreements forbidding

                                  19   individual NFL teams from selling telecast rights “because they would cause the teams to compete

                                  20   with each other and DirecTV.” Sunday Ticket, 933 F.3d at 1151. The CACC, by contrast, does

                                  21   not allege that Plaintiffs purchased SLPTV subscription packages from a member of a conspiracy,

                                  22   but rather from a victim of Disney’s anticompetitive conduct. 6 See also supra, at Part IV(A)(1)

                                  23   (dismissing per se claim for failure to establish horizontal conspiracy with SLPTV providers).

                                  24   Because Plaintiffs allege that they purchased the subscriptions at a higher price due to costs passed

                                  25
                                       6
                                  26     The Court notes that the analysis would perhaps be different if Plaintiffs were Hulu + Live TV
                                       subscribers. However, Plaintiffs would then also have to establish Hulu’s capacity to conspire
                                  27   with Disney and ESPN, and would also doubtless face different obstacles in considering the
                                       relevant market in which antitrust injury occurred.
                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                                        27
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 28 of 32




                                   1   on from YouTube TV and DirecTV, they are indirect purchasers without standing to maintain a

                                   2   claim for damages under the Sherman Act. See Pepper, 587 U.S. at 279, 282–83.

                                   3          B.      State Claims
                                   4          Plaintiffs also assert 15 claims based on Disney’s alleged anticompetitive conduct under

                                   5   the laws of Arizona, California, Florida, Illinois, Iowa, Massachusetts, Michigan, Nevada, New

                                   6   York, North Carolina, and Tennessee on behalf of the relevant state subscriber subclasses. See

                                   7   CACC ¶¶ 462–599. The Florida and Massachusetts claims are brought under broader consumer

                                   8   protection and unfair trade practices acts which permit antitrust claims, and the remaining claims

                                   9   are brought under specific antitrust and competition laws of Arizona, California, Illinois, Iowa,

                                  10   Michigan, Nevada, New York, North Carolina, and Tennessee. See id.

                                  11          Disney moves to dismiss each of these state law claims. See Mot. 25–31. Disney argues

                                  12   that each of the nine states with antitrust statutes interprets those statutes consistently with the
Northern District of California
 United States District Court




                                  13   Sherman Act, so that the claims under Arizona, California, Illinois, Iowa, Michigan, Nevada, New

                                  14   York, North Carolina, and Tennessee laws must fail for the reasons Disney argued that Plaintiffs’

                                  15   Sherman Act claims fail. See id. at 25–26. Disney likewise argues that the Florida and

                                  16   Massachusetts consumer protection and unfair trade practices claims must be dismissed because

                                  17   those states do not permit claims based on anticompetitive conduct that does not state a claim

                                  18   under the Sherman Act. See id. at 27–28. These arguments fail because the Court has found

                                  19   Plaintiffs to have stated a Sherman Act rule of reason claim. See supra, at Part IV(A)(2).

                                  20          Disney makes additional arguments with respect to Plaintiffs claims under Illinois and

                                  21   Tennessee law. First, Disney argues that the Illinois Antitrust Act (“IAA”) bars indirect purchaser

                                  22   class actions (though not individual claims), and that the restriction must be applied in federal

                                  23   court. See Mot. 29. Second, Disney argues that Tennessee’s antitrust act (the “Tennessee Trade

                                  24   Practices Act” or “TTPA”) applies only to tangible goods and not to services such as the SLPTV

                                  25   subscription services at issue here. See id. at 29–31. Plaintiffs counter that the IAA only bars

                                  26   indirect purchaser class actions in Illinois state courts, see Opp’n 29–32, and that the TTPA covers

                                  27   “software-based streaming product[s]” like those sold by SLPTV providers, see id. at 34–35.

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         28
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 29 of 32




                                   1                   1.      Illinois Antitrust Act

                                   2           The Illinois Antitrust Act provides that “no person shall be authorized to maintain a class

                                   3   action in any court of this State for indirect purchasers asserting claims under this Act, with the

                                   4   sole exception of this State's Attorney General, who may maintain an action parens patriae.” 740

                                   5   Ill. Comp. Stat. Ann. 10/7(2) (West 2010). Plaintiffs emphasize the “of this State” language to

                                   6   argue that the statute does not purport to bar class actions in federal court, and further argue that

                                   7   the analysis is controlled by Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S.

                                   8   393, 398–99 (2010), which found that (1) a New York law prohibiting class actions in suits

                                   9   seeking penalties or minimum damages conflicted with Federal Rule of Civil Procedure 23 and (2)

                                  10   the Federal Rule was valid under the Rules Enabling Act and thus the New York law could not

                                  11   apply in federal courts sitting in diversity.

                                  12           As explained a detailed analysis by a district court in the Eastern District of Pennsylvania
Northern District of California
 United States District Court




                                  13   on the effect of Shady Grove on indirect purchaser class actions under the IAA, a majority of the

                                  14   Supreme Court agreed with the first Shady Grove holding, but there was no majority agreement as

                                  15   to the proper Enabling Act analysis. See In re Wellbutrin XL Antitrust Litig., 756 F. Supp. 2d 670,

                                  16   673–75 (E.D. Penn. 2010). The district court reasoned that because the Supreme Court’s binding

                                  17   holding in circumstances without majority agreement is the narrowest grounds taken by the

                                  18   concurring justices, a federal rule will not “displace a state law that is procedural in the ordinary

                                  19   use of the term but is so intertwined with a state right or remedy that it functions to define the

                                  20   scope of the state-created right.” Id. at 674 (quoting Shady Grove, 559 U.S. at 423 (Stevens, J.,

                                  21   concurring in part)). Applying this analytical approach to the IAA, the Wellbutrin district court

                                  22   rejected the plaintiffs’ argument that importing the IAA’s ban on indirect purchaser class actions

                                  23   to federal court would violate Rule 23 and be contrary to the Enabling Act:

                                  24                   The Illinois restrictions on indirect purchaser actions are intertwined
                                                       with Illinois substantive rights and remedies because (1) the
                                  25                   restrictions apply only to the IAA, (2) they are incorporated in the
                                                       same statutory provision as the underlying right, not a separate
                                  26                   procedural rule, and (3) the restrictions appear to reflect a policy
                                                       judgment about managing the danger of duplicative recoveries.
                                  27                   Because the indirect purchaser restrictions of the IAA are
                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         29
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 30 of 32



                                                      “intertwined” with the underlying substantive right, application of
                                   1                  Rule 23 would “abridge, enlarge or modify” Illinois' substantive
                                                      rights, and therefore Illinois' restrictions on indirect purchaser actions
                                   2                  must be applied in federal court.
                                   3   Id. at 677.

                                   4           This Court, like others in this district, is persuaded by the Wellbutrin analysis and finds

                                   5   that the IAA’s indirect purchaser class action bar is substantive and thus “displaces Federal Rule

                                   6   of Civil Procedure 23’s usual allowance of class actions in diversity actions.” In re Xyrem

                                   7   (Sodium Oxybate) Antitrust Litig., 555 F. Supp. 3d 829, 885 (N.D. Cal. 2021) (citation omitted);

                                   8   see also Jones v. Micron Tech. Inc., 400 F. Supp. 3d 897, 927 (N.D. Cal. 2019) (“The Court

                                   9   agrees with th[e] reasoning [in Wellbutrin]. . . . Accordingly, applying Rule 23 at the expense of

                                  10   the IAA is inappropriate.”); United Food and Com. Workers Local 1776 & Participating Emps.

                                  11   Health & Welfare Fund v. Teikoku Pharma USA, Inc., 74 F. Supp. 3d 1052, 1083–84 (N.D. Cal.

                                  12   2014) (“I agree with Judge McLaughlin’s analysis [in Wellbutrin], especially as the no indirect
Northern District of California
 United States District Court




                                  13   purchaser class action rule was expressly adopted as an integral part of the Illinois Antitrust Act’s

                                  14   repeal of Illinois Brick.”); Staley v. Gilead Scis., Inc., 446 F. Supp. 3d 578, 625–26 (N.D. Cal.

                                  15   2020) (dismissing IAA claim under indirect purchaser class action limitation and noting Ninth

                                  16   Circuit’s reliance on Shady Grove “for the proposition that ‘there are some state procedural rules

                                  17   that federal courts must apply in diversity cases because they function as part of the State's

                                  18   definition of the substantive rights and remedies’”) (quoting Makaeff v. Trump Univ., LLC, 736

                                  19   F.3d 1180, 1187 (9th Cir. 2013)).

                                  20           Accordingly, the Court finds that the IAA’s bar on indirect purchaser class actions applies

                                  21   to the instant action, so that Plaintiffs’ IAA claim at Count 12 must be dismissed with prejudice.

                                  22                  2.      Tennessee Trade Practices Act
                                  23           The parties dispute whether the conduct alleged in this lawsuit falls within the scope of the

                                  24   TTPA based on whether Plaintiffs purchased “goods” or “services.” This distinction comes from

                                  25   a line of Tennessee law holding that the TTPA’s private right of action for injury from

                                  26   anticompetitive conduct under Tennessee Code Annotated § 47-25-101 “applies only to tangible

                                  27   goods, not intangible services.” Bennett v. Visa U.S.A. Inc., 198 S.W.3d 747, 751 (Tenn. Ct. App.

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         30
                                         Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 31 of 32




                                   1   2006) (citing McAdoo Contractors, Inc. v. Harris, 439 S.W.2d 594 (1969)). However, it appears that

                                   2   in April 2024—after the parties briefed and argued this Motion—the Tennessee legislature amended

                                   3   the TTPA. In relevant part, the state legislature deleted and replaced Tennessee Code Annotated § 47-

                                   4   25-101 in its entirety. When Bennett was decided, the statute provided:

                                   5                  All arrangements, contracts, agreements, trusts, or combinations
                                                      between persons or corporations made with a view to lessen, or which
                                   6                  tend to lessen, full and free competition in the importation or sale of
                                                      articles imported into this state, or in the manufacture or sale of
                                   7                  articles of domestic growth or of domestic raw material, and all
                                                      arrangements, contracts, agreements, trusts, or combinations between
                                   8                  persons or corporations designed, or which tend, to advance, reduce,
                                                      or control the price or the cost to the producer or the consumer of any
                                   9                  such product or article, are declared to be against public policy,
                                                      unlawful, and void.
                                  10

                                  11   See Bennett, 198 S.W.3d at 750 (quoting Tenn. Code Ann. § 47-25-101 (2005)) (emphases added).

                                  12          The statute now provides:
Northern District of California
 United States District Court




                                  13                  All arrangements, contracts, agreements, trusts, or combinations
                                                      between persons or corporations made with a view to lessen, or which
                                  14                  tend to lessen, full and free competition in trade or commerce
                                                      affecting this state, and all arrangements, contracts, agreements,
                                  15                  trusts, or combinations between persons or corporations designed or
                                                      which tend to advance, reduce, or control the price or the cost to the
                                  16                  producer or the consumer of any product or service in trade or
                                                      commerce affecting this state, are declared to be against public policy,
                                  17                  unlawful, and void.
                                  18   Tenn. Code Ann. § 47-25-106 (West 2024) (emphasis added).

                                  19          The Court can find no case examining the change in statutory language. However,

                                  20   Tennessee courts have previously noted that “after the McAdoo decision, many attempts had been

                                  21   made in the General Assembly to expand the scope of the TTPA, including one in 1978 to add

                                  22   ‘services’ to § 47-25-101,” and “[n]one was successful.” Sherwood v. Microsoft Corp., No.

                                  23   M2000-01850-COA-R9-CV, 2003 WL 21780975, at *26 (Tenn. Ct. App. July 31, 2004) (citation

                                  24   omitted). Accordingly, it appears to the Court that the Tennessee legislature has done away with

                                  25   the TTPA’s distinction between goods and services for purposes of the TTPA, as indicated by the

                                  26   plain language of the current statute. The Court therefore rejects Disney’s argument about the

                                  27   scope of the TTPA as moot.

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         31
                                            Case 5:22-cv-07317-EJD Document 85 Filed 06/25/24 Page 32 of 32




                                   1   V.      CONCLUSION

                                   2           For the foregoing reasons, the Court hereby ORDERS as follows:

                                   3              1. Disney’s motion to dismiss Plaintiffs’ Sherman Act § 1 claims (i.e., Counts 1 and

                                   4                  2) is GRANTED WITHOUT LEAVE TO AMEND as to Plaintiffs’ per se theory

                                   5                  and DENIED as to the alternative rule of reason theory;

                                   6              2. Disney’s motion to dismiss Plaintiffs’ claims for damages under the Sherman Act

                                   7                  is GRANTED WITHOUT LEAVE TO AMEND;

                                   8              3. Disney’s motion to dismiss Plaintiffs’ claim under the Illinois Antitrust Act (i.e.,

                                   9                  Count 12) is GRANTED WITHOUT LEAVE TO AMEND; and

                                  10              4. Disney’s motion to dismiss the remaining state law claims (i.e., Counts 3–11 and

                                  11                  13–17) is DENIED.

                                  12              5. Disney shall answer the CACC within 14 days of the entry of this order.
Northern District of California
 United States District Court




                                  13              6. The Court will separately schedule a case management conference.

                                  14

                                  15           IT IS SO ORDERED.

                                  16   Dated: June 25, 2024

                                  17

                                  18
                                                                                                    EDWARD J. DAVILA
                                  19                                                                United States District Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28   Case No.: 22-cv-07317-EJD
                                       ORDER GRANTING IN PART, DENYING IN PART DEFT.’S MOT. DISMISS CACC
                                                                         32
